                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          NO. 3:13-00097
                                               )          JUDGE SHARP
MARCY JO PICKLER [15]                          )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 765) to which the Government does not oppose.

       The motion is GRANTED and the hearing scheduled for November 25, 2014, is hereby

rescheduled for Friday, February 27, 2015, at 1:30 p.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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